                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:12-CR-239-GCM-DCK

UNITED STATES OF AMERICA,                              )
                                                       )
               Plaintiff,                              )
                                                       )
   v.                                                  )      ORDER
                                                       )
ANN TYSON MITCHELL,                                    )
                                                       )
               Defendant.                              )
                                                       )

        THIS MATTER IS BEFORE THE COURT on the “Motion For Psychiatric Or

Psychological Evaluation And Competency Hearing” (Document No. 346), filed by the

government on September 20, 2013. In the motion, counsel for the government suggests that the

Defendant may not be competent to proceed and therefore requests that an examination be

conducted, and thereafter a hearing held, to determine the Defendant’s competency.              The

government makes its motion pursuant to 18 U.S.C. §§ 4241(a), 4241(b), and 4247(b). While

counsel for the Defendant has not yet responded, the Government’s motion indicates that

“Defense counsel states that he opposes the motion.”

        The Court notes that the Defendant is currently out on pretrial release, and the granting of

the government’s motion would therefore require that she be taken into custody. As noted

above, the Court observes that defense counsel apparently opposes the motion, implying that he

does not believe that the Defendant is incompetent. In all likelihood, a hearing will be required

to determine an appropriate disposition of the government’s motion, and the Court will want to

have the benefit of a written response from counsel for the Defendant prior to that hearing.




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       IT IS THEREFORE ORDERED that counsel for the Defendant shall file a response to

the government’s motion on or before October 3, 2013. After reviewing the response, the Court

will determine appropriate next steps in this matter.

       SO ORDERED.



                                              Signed: September 25, 2013




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